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                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF NEW YORK

 CHRISTOPHER SADOWSKI,

           Plaintiff,

 v.                                                 Case No. 1:24-cv-08079
 TICKET WIPER CORP.,

           Defendant.



                                              ANSWER

       Defendant Ticket Wiper Corp. (“Defendant”), for and as its Answer to the Complaint

filed by Plaintiff Christopher Sadowski (“Plaintiff”) (ECF. No. 1), answers and alleges as

follows:

                                           THE PARTIES

       1.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 1.

       2.         Admitted.

                                  JURISDICTION AND VENUE

       3.         Denied.

       4.         Denied.

       5.         Denied.

                                               FACTS

       6.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 6.
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        7.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 7.

        8.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 8.

        9.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 9.

        10.        Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 10.

        11.        Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 11.

        12.        Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 12.

        13.        Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 13.

        14.        Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 14.

        15.        Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 15 of the Complaint, as the terms and facts alleged are

not clearly defined or are ambiguous. Therefore, Defendant denies the allegations in Paragraph

15 at this time.

        16.        Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 16 of the Complaint, as the terms and facts alleged are


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not clearly defined or are ambiguous. Therefore, Defendant denies the allegations in Paragraph

16 at this time.

         17.       Denied

         18.       Denied.

         19.       Denied.

         20.       Denied.

         21.       Denied.

         22.       Denied.

         23.       Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 16 of the Complaint, as the terms and facts alleged are

not clearly defined or are ambiguous. Therefore, Defendant denies the allegations in Paragraph

23 at this time.

         24.       Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 24.

                             COUNT I – COPYRIGHT INFRINGEMENT

         25.       Defendant incorporates its responses to paragraphs 1 through 24 as set forth

above.

         26.       Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 26.

         27.       Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 27.

         28.       Denied.

         29.       Denied.
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        30.     Denied.

        31.     Denied.

        32.     Denied.

        33.     Denied.

        34.     Denied.

        35.     Denied.

        36.     Denied.

                                      GENERAL DENIAL

        Each numbered paragraph in this Answer responds to the identically numbered paragraph

in the Complaint. Defendants deny all allegations, declarations, claims or assertions in the

Complaint that are not specifically admitted in this Answer.

                                           DEFENSES

        By alleging the separate and additional defenses set forth below, Defendant is not in any

way agreeing or conceding that they have the burden of proof or the burden of persuasion on any

of these issues.

                     FIRST DEFENSE: ABUSE OF THE LEGAL SYSTEM

        Defendant asserts that Plaintiff, alongside its counsel, have engaged in a pattern of

systematic abuse of the legal system. This abuse is evidenced by the repeated and notorious use

of litigation not as a means to remediate any actual or substantial harm, but rather as a

mechanism for profit and personal gain. They opt to leverage legal threats and actions as a

business strategy, thereby undermining the integrity of the legal system. Defendant contends that

such conduct constitutes an abuse of the law, and the court should recognize this defense as a bar

to Plaintiff's claims.
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                SECOND DEFENSE: PLAINTIFF’S CLAIMS ARE BARRED
                   BY THE APPLICABLE STATUTE OF LIMITATIONS

       Defendant asserts that Plaintiff’s claims are barred by the applicable statute of limitations

under 17 U.S.C. § 507(b). The statute of limitations for copyright infringement is three years

from the date the claim accrued. In this case, the alleged infringement is stated to have occurred

in 2020, which is more than three years before the filing of this lawsuit.

       Furthermore, Plaintiff is known to actively monitor and enforce its rights regarding its

copyrighted images. Given Plaintiff’s established pattern of vigilant oversight and frequent

litigation to protect its intellectual property, Plaintiff either knew or should have known about the

alleged infringement shortly after it occurred in 2020. Despite this, Plaintiff failed to take timely

action within the statutory period.

       As a result, any claims related to the alleged infringement are time-barred.

                      THIRD DEFENSE: FAIR USE AND DE MINIMUS

       Defendant asserts that the alleged use of Plaintiff's copyrighted material constitutes both

fair use and de minimis use under the law, and therefore does not infringe upon Plaintiff’s

copyright.

               FOURTH DEFENSE: INVALID COPYRIGHT REGISTRATION

       Defendant asserts that Plaintiff’s claims of copyright infringement are barred because the

copyright registration in question is invalid. Under the Copyright Act, a valid copyright

registration is a prerequisite for filing a lawsuit for copyright infringement. In this case, the

copyright registration alleged by the Plaintiff is invalid for the following reasons:

       •     Inaccurate or Misleading Information

       •     Failure to Comply with Copyright Office Requirements

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       •   Lack of Originality, and

       •   Fraud on the Copyright Office

                FIFTH DEFENSE: LACK OF KNOWLEDGE AND INTENT

       With respect to Plaintiff’s claim for removal of copyright management information, any

such removal or alteration was not done intentionally and knowingly and/or was not undertaken

in support of any infringement of the photograph at issue.

                           SIXTH DEFENSE: INNOCENT INTENT

       To the extent the Court finds any infringement or other wrongful conduct by Defendant,

Defendant is entitled to a reduction of damages based on its innocent intent, including reductions

in any statutory damages if so elected by Plaintiff.

                                       SEVENTH DEFENSE

       Plaintiff’s losses, if any, are limited to actual damages.

                                        EIGHTH DEFENSE

       Plaintiff’s request for injunctive relief is barred by the lack of any irreparable harm from

the purported conduct by Defendant.

                                      ADDITIONAL DEFENSES

       Defendant hereby gives notice that, due to their incomplete knowledge as to the matters

set forth in the Complaint, they are unable to determine whether they have additional defenses

not expressly enumerated in the preceding paragraphs or elsewhere in this Answer. Defendant

thus reserves their right to amend their Answer to assert additional defenses and to rely upon

those additional defenses to the extent they become available or apparent during discovery or

further proceedings in this action.


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                                            JURY DEMAND

        Defendant, pursuant to Rule 38 of the Federal Rules of Civil Procedure, hereby demands

a trial by jury on all issues so triable.



Dated: Washington, DC
       February 11, 2025




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2025, I electronically filed the foregoing with the

Clerk of Court by using CM/ECF, which automatically serves all counsel of record for the

parties who have appeared.




                                                     ____________________________________
                                                      Aaron M. Arce Stark, Attorney




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